                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

  UNITED STATES OF AMERICA,
                 Plaintiff,                                No. 22-mj-140-MAR
  vs.                                                            ORDER
  2005 Harley Davidson FXST Motorcycle,
                 Defendant.
                                ____________________

        Before the Court is the Government’s Motion to Unseal Case, filed on November
8, 2022. (Doc. 7.)    On November 9, 2022, the Government also made an oral motion
seeking the filings in this matter to be unsealed and the case be closed.
        IT IS ORDERED for good cause and the reasons stated in the Motions, the
Motions are granted. The Clerk’s Office shall unseal all pleadings in this matter.
Furthermore, this matter can be closed pursuant to the Indictment filed in United States
v. Jacob Demaio, Case No. 22-cr-1039.
        IT IS SO ORDERED this 9th day of November, 2022.




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